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  1
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  6
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  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                        Case No.: 8:16-bk-10223-ES
 12
      KENT W. EASTER,                              Chapter 7 Proceeding
 13
                           Debtor                  Adv. Case No. 8:16-ap-01114-ES
 14

 15
                                                   DEFENDANT’S OPPOSITION TO
 16                                                PLAINTIFFS’ MOTION FOR SUMMARY
      KELLI C. PETERS, BILL PETERS, and            JUDGMENT
      SYDNIE PETERS,
 17
                            Plaintiffs,            [DECLARATION OF KENT W. EASTER,
 18                                                REQUEST FOR JUDICIAL NOTICE AND
                           v.                      DEFENDANT’S (1) STATEMENT OF
 19
                                                   CONTROVERTED FACTS AND
      KENT W. EASTER,                              CONCLUSIONS OF LAW, AND (2)
 20
                                                   SEPARATE STATEMENT OF
                      Defendant.
 21   ___________________________________          DISPUTAED FACTS IN SUPPORT OF
                                                   OPPOSITION FILED CONCURRENTLY
 22                                                HEREWITH]
 23                                                Hearing:
                                                   Date:        November 10, 2016
 24                                                Time:        10:30 a.m.
                                                   Ctrm:        5A
 25

 26

 27

 28


              DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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  1          Defendant Kent W. Easter (“Easter”, “Debtor” or “Defendant”) hereby submits this
  2   opposition to Plaintiffs’ Motion for Summary Judgment or, Alternatively, for Summary
  3
      Adjudication (the “Opposition” and the “Motion”, respectively). This is exclusively a Section
  4
      523(a)(6) action.
  5
             This Opposition is based upon the attached Memorandum of Points and Authorities, the
  6

  7   concurrently filed Request for Judicial Notice (“RJN”), Defendant’s (1) Statement of

  8   Controverted Facts and Conclusions of Law in Support of Opposition and (2) Separate Statement

  9   of Disputed Facts, and the Declaration of Kent W. Easter (“Easter Dec.”) in support thereof, the
 10
      papers and records on file herein, and any oral and documentary evidence as may be presented as
 11
      evidence at the hearing on this Motion.
 12

 13

 14   Dated: October 20, 2016                      Respectfully submitted,
 15                                                GOE & FORSYTHE, LLP
 16
                                                   /s/ Robert P. Goe
 17                                                Robert P. Goe, Attorneys for Kent W. Easter

 18

 19

 20

 21

 22

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                                                    -1-

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  1

  2                       MEMORANDUM OF POINTS AND AUTHORITIES

  3   I.     INTRODUCTION

  4          Plaintiffs fail to meet their burden and cannot prevail on their Motion for a number of

  5   reasons, including but not limited to the following:

  6
             (1) The notice of the Motion was improper and untimely;
  7
             (2) Collateral estoppel does not apply to the Civil Judgment because it is on appeal and is
  8
                 therefore not a final judgment under California law;
  9

 10          (3) The criminal conviction of Debtor is not collateral estoppel as to nondischargeabilty
 11              of Debtor’s debts to Plaintiffs because the elements of the charge underlying Debtor’s
 12              criminal conviction did not include a specific intent to harm or adjudicate an amount
 13              of damages to the three Plaintiffs;
 14
             (4) Bill and Sydnie Peters were not victims of any crime and there is no evidence Debtor
 15
                 acted to cause “willful and malicious injury” to Bill and Sydnie Peters, whatsoever;
 16
                 and
 17

 18          (5) Plaintiffs’ argument of the lack of issue of material fact is predicated on the

 19              submission of inadmissible hearsay.

 20          Based on the unavailing evidence and argument provided by Plaintiffs and the evidence

 21   and legal authority provided in support of this Opposition, as more fully set forth below,

 22   Plaintiffs have failed to meet their burden as the moving parties and accordingly, summary

 23   judgment should be denied.

 24   II.    FACTUAL HISTORY

 25          Debtor does not dispute that he was tried and convicted on September 10, 2014, of false

 26   imprisonment of Kelli C. Peters, in violation of California Penal Code §§ 236/237 in Orange

 27   County Superior Court, Case. No. 12ZF0153. [See Declaration of Kent Easter (“Easter Dec.”)

 28   ¶2.]
                                                       -- 2 --

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  1
             Subsequently, on February 1, 2015, Debtor went to trial, in propia persona, in Orange
  2
      County Superior Court, Case No. 30-2012-00588580 (the “State Court Action”) on Plaintiff
  3
      Kelli Peters’ causes of action for false imprisonment and intentional infliction of emotional
  4
      distress and Plaintiffs Bill and Sydnie Peters’ claims of intentional infliction of emotional
  5
      distress. [Easter Dec ¶ 3.] In order to streamline and expedite the trial, Debtor agreed to
  6
      stipulate to liability and only dispute damages. [Easter Dec. ¶ 4 and Marcereau Dec. Ex. 3.] In
  7
      negotiating the stipulation, however, Debtor expressed his unwillingness to stipulate to any
  8
      intentional wrongdoing or conduct against Bill and Sydnie Peters on their only remaining cause
  9
      of action for intentional infliction of emotional distress. [Easter Dec. ¶5 and Ex. A.] In
 10
      discussing the terms of the stipulation in an email with Debtor, Plaintiffs’ counsel responded that
 11
      “recklessness” provided an alternative basis for establishing liability for intentional infliction of
 12
      emotional distress and based on this exchange, Debtor ultimately agreed to the stipulation.
 13
      [Easter Dec. ¶6 and Ex. A.]
 14
             On February 5, 2016, after the conclusion of the trial in the State Court Action, the jury
 15
      awarded separate amounts of compensatory damages to Kelli Peters, Bill Peters and Sydnie
 16
      Peters and awarded the Plaintiffs $1.5 million in punitive damages against Debtor, which are set
 17
      forth in the Civil Judgment. [Plaintiffs’ Request for Judicial Notice, Exs. 1 and 2.]
 18
             On August 12, 2016, Debtor filed a notice of appeal from the Civil Judgment, which
 19
      appeal remains pending before the California Fourth District Court of Appeal, Case No.
 20
      G054029. [Defendant’s Request for Judicial Notice, Ex. 1. & Ex. 2]
 21
      III.   ARGUMENT
 22

 23          A.      Plaintiffs’ Notice of Motion Was Untimely and Improper
 24          Plaintiffs noticed the Motion for the wrong date and the wrong courtroom, and they
 25   invoked the wrong authority in the Local Rules. Plaintiffs’ notice incorrectly states that the
 26   motion will be heard on November 10, 2004 in Department 2 and erroneously directs the Debtor
 27   to a non-existent “LBR 9014-4(b)” for a deadline to oppose the motion of 14 days after service
 28   of the motion. In fact, LBR 7056-1 controls summary judgment motions and provides that an
                                                   -- 3 --

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  1
      opposition is to be filed 21 days before the hearing. Plaintiffs then attempted to correct their
  2
      error [Docket No. 21] by filing an amended notice stating that the hearing was to be on
  3
      November 10, 2016 in Courtroom 5A.
  4
             While Debtor has assembled this opposition for timely filing, Debtor respectfully objects
  5
      to Plaintiffs’ notice because he has been prejudiced by having to file his opposition no later than
  6
      21 days before the hearing date, after having received the shortened and inaccurate notice, which
  7
      cited a non-existent rule (LBR 9014-4) and instructed him incorrectly. Apparently, the Court
  8
      deemed it appropriate in this case to shorten the period under LBR 7056-1 to allow Plaintiffs’ to
  9
      file their motion with only 37 days’ notice [Docket No. 9], but the Court did not modify the
 10
      deadline for Debtor to file his opposition to the Motion, however, Debtor is filing his opposition
 11
      today out of an abundance of caution. Debtor has been deprived of the full allotment of time
 12
      provided by LBR 7056-1 to research and write this opposition and its supporting papers, while
 13
      being burdened with having to unravel Plaintiffs’ confusing and erroneous notice of motion.
 14
             Accordingly, Debtor respectfully requests that the Court deny Plaintiffs’ motion on the
 15
      basis that it was improperly noticed.
 16
             B.     Plaintiffs’ Fail To Meet Their Burden For Establishing Nondischargeability
 17
                    Under 11 U.S.C. §523(a)(6).
 18

 19                 1.       Legal Standards
 20          When a court considers a summary judgment motion, the “evidence of the nonmovant is
 21   to be believed, and all justifiable inferences are to be drawn in his favor.” Anderson v. Liberty
 22   Lobby, Inc., 477 U.S. 242, 255 (1986). All reasonable doubt as to the existence of genuine issues
 23   of material fact must be resolved against the moving party. Liberty Lobby, 477 U.S. at 247-48,
 24   106 S.Ct. at 2509. In the absence of any disputed material facts, the inquiry shifts to whether the
 25   moving party is entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. at
 26   323, 106 S.Ct. at 2552-53. Furthermore, where intent is at issue, summary judgment is seldom
 27   granted. See Provenz v. Miller, 102 F.3d 1478, 1489 (9th Cir. 1996), cert. denied, 139 L. Ed. 2d
 28   14, 118 S.Ct. 48 (1997). Additionally, as in this case, “[w]here the evidentiary matter in support
                                                    -- 4 --

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  1
      of the motion does not establish the absence of a genuine issue, summary judgment must be
  2
      denied even if no opposing evidentiary matter is presented.” Advisory Committee Notes
  3
      accompanying the 1963 amendments to Civil Rule 56.
  4
             Plaintiffs are attempting to have this Court enter summary judgment that Debtor’s debts
  5
      to Plaintiffs are non-dischargeable under section 523(a)(6) of the Bankruptcy Code because the
  6
      debts are purportedly “for willful and malicious injury by the debtor to another entity.” (11
  7
      U.S.C. §523(a)(6)). This is “[a]n exacting requirement” that is not cavalierly met. In re Plyam
  8
      530 B.R. 456, 463 (9th Cir. B.A.P., 2015). A court must first inquire whether there is “willful”
  9
      injury, which must entail a deliberate or intentional injury. Kawaauhau v. Geiger, 523 U.S. 57,
 10
      61-62 (1998). In the Ninth Circuit, the intent required to satisfy the “willful” injury requirement
 11
      is either the subjective intent of the actor to cause harm or the subjective knowledge of the actor
 12
      that harm is substantially certain to occur. Carrillo v. Su (In re Su), 290 F.3d 1140, 1144-45 (9th
 13
      Cir. 2002). The second step of inquiry for the Court is whether Debtor’s conduct was
 14
      “malicious.” The required elements for the “malicious” prong of 523(a)(6) are: 1) a wrongful
 15
      act; 2) done intentionally; 3) which necessarily causes injury; and 4) without just cause and
 16
      excuse. Jett v. Sicroff (In re Sicroff), 401 F.3d 1101, 1105- 1106 (9th Cir. 2005). Thus, “debts
 17
      arising from recklessly or negligently inflicted injuries do not fall within the compass of §
 18
      523(a)(6).” Geiger, 523 U.S. at 64. Recklessness does not satisfy §523(a)(6) because conduct
 19
      that is reckless merely requires an intent to act, rather than an intent to cause injury as required
 20
      under Geiger. In re Plyam, 530 B.R. at 464 (9th Cir. B.A.P. 2015).
 21
             The evidence provided by Plaintiffs in support of the Motion does not support the
 22
      conclusion that the debts to the Plaintiffs are nondischargeable. Indeed, the evidence provided
 23
      by Plaintiffs fails to put before the Court the full factual record of the State Court Action and the
 24
      criminal conviction, and a review of which requires denial of the Motion.
 25

 26

 27

 28
                                                      -- 5 --

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  1
                           2.       The Civil Judgment Cannot Provide A Basis For Issue Preclusion
  2
                                    Against Debtor Because It Is On Appeal.
  3
                 A bankruptcy court may rely on the issue preclusive effect of an existing state court
  4
      judgment as the basis for granting summary judgment. See Khaligh v. Hadaegh (In re
  5
      Khaligh), 338 B.R. 817, 831-32 (9th Cir. BAP 2006). In so doing, however, the court must
  6
      apply the forum state’s law of issue preclusion. Harmon v. Kobrin (In re Harmon),250 F.3d
  7
      1240, 1245 (9th Cir.2001); see also 28 U.S.C. § 1738 (federal courts must give "full faith and
  8
      credit" to state court judgments). In the Motion, Plaintiffs cite the incorrect standard for
  9
      collateral estoppel1. Under California law, the application of collateral estoppel requires the
 10
      party invoking the doctrine to establish that: (1) the issue sought to be precluded from
 11
      relitigation is identical to that decided in a former proceeding; (2) the issue was actually
 12
      litigated in the former proceeding; (3) the issue was necessarily decided in the former
 13
      proceeding; (4) the decision in the former proceeding is final and on the merits; and (5) the
 14
      party against whom preclusion is sought was the same as, or in privity with, the party to the
 15
      former proceeding. In re Plyam 530 B.R. 456, 462 (9th Cir. B.A.P., 2015) (citing Lucido v.
 16
      Super. Ct., 51 Cal.3d 335, 341, 272 Cal.Rptr. 767, 795 P.2d 1223 (1990)).
 17
                 Among other fatal flaws in the Plaintiffs’ request that this Court afford preclusive effect
 18
      to the Civil Judgment is that it is not “final” because it is on appeal. Sandoval v. Superior
 19
      Court (1983) 140 Cal.App.3d 932, 936; California Code of Civil Procedure §1049 (“An action
 20
      is deemed to be pending from the time of its commencement until its final determination upon
 21
      appeal, or until the time for appeal has passed, unless the judgment is sooner satisfied.”)
 22
      Plaintiffs’ Motion fails to disclose to the Court that the Civil Judgment is not final and cites no
 23
      California authority allowing the application of a judgment on appeal to preclude relitigating an
 24
      issue in another proceeding. Cf. Robi v. Five Platters, Inc., 838 F.2d 318, 326-27 (9th Cir.
 25
      1988) (none of the three judgments being given issue preclusive effect were appealed).
 26

 27

 28   1
          See Motion, 7:28-8:7, citing only three of the required factors.
                                                                -- 6 --

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  1
             Furthermore, Plaintiffs gloss over (and do not even cite) all of the requisite elements for
  2
      issue preclusion under California law, including but not limited to the identity of issues and
  3
      whether each issue was actually litigated. However, the Court need look no further than the
  4
      fact that the Civil Judgment is not final to deny the request for summary judgment based on the
  5
      Civil Judgment.
  6
             As the Civil Judgment is on appeal, it cannot be given preclusive effect and cannot be
  7
      used to meet Plaintiffs’ burden for their summary judgment motion.
  8
                     3.      The Punitive Damages Award Is Insufficient As A Matter Of Law
  9
                             To Form A Basis For A Finding Of Nondischargeabilitiy.
 10
             Even if the Civil Judgment was final, and it is not, the award of punitive damages based
 11
      on “malice, oppression, or fraud” under California law can never be a basis for collateral
 12
      estoppel on the issue of §523(a)(6) willfulness. As the Ninth Circuit Bankruptcy Appellate Panel
 13
      discussed in great detail in In re Plyam 530 B.R. 456 (9th Cir. B.A.P., 2015), the meanings of
 14
      “malice,” “oppression,” and “fraud” under California law include both intentional and reckless
 15
      conduct, and reckless conduct does not satisfy §523(a)(6). Id. at 465-70. Therefore, a punitive
 16
      damages award in the disjunctive – an award based on “malice, oppression, or fraud” –
 17
      “prevent[s] the use of issue preclusion as to § 523(a)(6) willfulness.” Id. at 470. Only
 18
      intentional malice and fraud require an intent to injure under California law, and the jury’s award
 19
      in the State Court Action does not specify on which of the three bases punitives were awarded.
 20
             Furthermore, the punitive damages award did not identify whether all three Plaintiffs or
 21
      just one of the Plaintiffs was entitled to punitive damages. The verdict form presented to the jury
 22
      simply asked the jury what amount of punitive damages, if any “do you award Plaintiffs jointly
 23
      against Kent W. Easter.” Marcereau Decl., Ex. 1. There are no separate findings that the jury
 24
      determine one, two or three of the Plaintiffs were entitled to punitives or for how much. Based
 25
      on this record, it is likewise impossible to summarily adjudicate that each Plaintiff has a
 26
      nondischargeable judgment for punitive damages.
 27

 28
                                                     -- 7 --

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  1
             Therefore, the punitive damages award can never form a basis for the application of
  2
      collateral estoppel to the Civil Judgment.
  3
                     4.      Debtor’s Criminal Conviction Does Not Meet the Requirements for
  4
                             a Finding of Nondischargeability of Debt Based upon Issue
  5
                             Preclusion.
  6
             In addition to the State Court Action, Plaintiffs’ argue that Debtor’s criminal conviction
  7
      presented identical issues as to nondischargeability. However, Plaintiffs have failed to present
  8
      evidence about the specific issues litigated in the criminal trial to establish that they were
  9
      identical to the issues necessary to establish nondischargeability under Section 523(a)(6). Nor
 10
      have Plaintiffs cited any authority that a criminal conviction can establish the necessary finding
 11
      of “willful and malicious injury” for a separate civil damages judgment.
 12
             In nondischargeability actions, the party asserting issue preclusion bears the burden of
 13
      proof as to all elements and must introduce a sufficient record to reveal the controlling facts
 14
      and the exact issues litigated. In re Kirkland, (9th Cir. BAP 2008) 2008 Bankr. LEXIS 4704,
 15
      2008 WL 8444824, at *7 (citing Kelly v. Okoye (In re Kelly), 182 B.R. 255, 258 (9th Cir. BAP
 16
      1995) aff'd, 100 F.3d 110 (9th Cir.1996)) (emphasis added). This means providing “a record
 17
      sufficient to reveal the controlling facts and pinpoint the exact issues litigated in the prior
 18
      action.” In re Kelly, 182 B.R. at 258. Ultimately, “[a]ny reasonable doubt as to what was
 19
      decided by a prior judgment should be resolved against allowing the [issue preclusive] effect.”
 20
      Id.
 21
             First, and most importantly, Plaintiffs have failed to provide any evidence that the
 22
      criminal conviction followed litigating any issues of Debtor’s conduct towards Plaintiffs Bill or
 23
      Sydnie Peters. All Plaintiffs have done is to present the declaration of their counsel and a
 24
      stipulation between the parties in the State Court Action that Debtor “was convicted of felony
 25
      false imprisonment of Kelli Peters pursuant to Penal Code 236/237”. The record is completely
 26
      silent as to Bill and Sydnie Peters, since Bill and Sydnie Peters were not the victims of any
 27
      crime. See Marcereau Decl., Exhibit 3, ¶ 3.
 28
                                                      -- 8 --

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  1
             Second, Plaintiffs’ Motion does not present any evidence that this conviction actually
  2
      litigated that there was a “willful and malicious injury” by the Debtor to Kelli Peters. Even
  3
      though Debtor was convicted of felony false imprisonment of Kelli Peters, Plaintiffs’ Motion is
  4
      silent as to the requisite elements of that offense, likely because the offense itself does not satisfy
  5
      the requirements of 523(a)(6) for nondischargeability. False imprisonment is simply “the
  6
      unlawful violation of the personal liberty of another.” Penal Code § 236. “False imprisonment is
  7
      a misdemeanor unless it is ‘effected by violence, menace, fraud, or deceit,’ in which case it is a
  8
      felony.” People v. Wardell (2008) 162 Cal.App.4th 1484, 1490, quoting § 237.) However,
  9
      “false imprisonment, whether misdemeanor or felony, is a general intent crime ….” People v.
 10
      Olivencia (1988) 204 Cal.App.3d 1391, 1397; see also Debtor’s Request for Judicial Notice, Ex.
 11
      3 (“The following crime[s] require[s] general criminal intent: felony false imprisonment, the
 12
      charged offense; and the lesser offense of misdemeanor false imprisonment. . . . A person acts
 13
      with wrongful intent when he or she intentionally does a prohibited act however it is not required
 14
      that he or she intend to break the law.”) Moreover, Debtor’s counsel objected and proposed a
 15
      jury instruction seeking a finding of specific intent and it was refused. See Debtor’s Request for
 16
      Judicial Notice, Ex. 4. Thus, while the criminal case may have litigated and established that
 17
      Debtor intended the acts that resulted in Kelli Peters’ false imprisonment, Debtor’s conviction is
 18
      not sufficient to establish that Debtor caused “willful and malicious injury” to Kelli Peters.
 19
             Furthermore, Plaintiffs’ provide no evidence that the criminal case litigated any amount
 20
      of damages for Kelli Peters. And in fact, the criminal conviction resulted in no finding of
 21
      compensatory damages owed to Kelli Peters, only a restitution order for approximately $36,000,
 22
      which is a far cry from the multi-million dollar debt Plaintiffs are now attempting to find
 23
      nondischargeable. Plaintiffs cannot bootstrap the criminal conviction into a full and final
 24
      litigation of the Civil Judgment, and they cite no authority suggesting otherwise.
 25
             In sum, the fact that Debtor was convicted of felony false imprisonment of Kelli Peters is
 26
      not sufficient to establish a “willful and malicious injury” to Kelli Peters based upon collateral
 27
      estoppel, let alone liability to Bill and Sydnie Peters.
 28
                                                      -- 9 --

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  1
                        5.       There Is No Evidence From Either the State Court Action or
  2
                                 Criminal Case To Establish That Defendant Possessed Any Subjective
  3
                                 Intent To Injure Bill Or Sydnie Peters.
  4
               Even if the Civil Judgment that is still on appeal could be found to be nondischargeable,
  5
      there is no evidence that the awards in favor of Bill or Sydnie Peters’ were the result of any
  6
      “willful” injury by Debtor. The criminal case only involved Kelli Peters as a victim. Debtor
  7
      disputes that he intentionally directed any actions whatsoever towards Bill or Sydnie Peters, and
  8
      accordingly Debtor refused to enter into the parties’ stipulation admitting to liability to them
  9
      whatsoever until Plaintiffs’ counsel represented that recklessness, not intentional conduct, was
 10
      sufficient to establish liability2.
 11
               The only evidence Plaintiffs attempt to present about Bill and Sydnie Peters, other than
 12
      the non-final Civil Judgment, is Kelli Peters’ inadmissible hearsay about their injuries, and even
 13
      considering that, the record is devoid of any evidence that Debtor specifically intended any of
 14
      those injuries to occur. As a result, Plaintiff Bill and Sydnie Peters’ motion for summary
 15
      judgment as to nondischargeability fails regardless of the outcome of the appeal.
 16
      IV.      CONCLUSION
 17
               Based on the foregoing, including but not limited to the failure of Plaintiffs to put a
 18
      sufficient evidentiary record before this Court to establish was litigated in the previous actions,
 19
      deliberate nondisclosure of the pendency of the appeal from the Civil Judgment, failure to submit
 20
      admissible evidence for summary judgment based on the alleged absence of issue of material
 21
      fact, failure to cite applicable and necessary legal standards to carry their burden on the Motion,
 22
      and improper and insufficient notice of the Motion, the Motion must be denied.
 23
      Dated: October 20, 2016                               Respectfully submitted,
 24
                                                            GOE & FORSYTHE, LLP
 25
                                                            /s/ Robert P. Goe
 26                                                         Robert P. Goe, Attorneys for Kent Easter

 27   2
       See Cervantez v. J.C. Penney Co. (1979) 24 C.3d 579, 593 (setting forth elements for intentional infliction of
      emotion distress, including conduct done recklessly).
 28
                                                            -- 10 --

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  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  4   A true and correct copy of the foregoing document entitled (specify): DEFENDANT’S OPPOSITION TO
      PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT will be served or was served (a) on the judge in
  5   chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) October 20, 2016, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  8
             Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
  9           wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
             Robert H Marcereau , nlipowski@mncalaw.com
 10          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11                                                     Service information continued on attached page
 12   2. SERVED BY UNITED STATES MAIL: On (date) October 20, 2016, I served the following persons
      and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
 13   true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
      and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
 14   completed no later than 24 hours after the document is filed.

 15   Kent W Easter
      153 Baywood Dr
 16   Newport Beach, CA 92660

 17                                                     Service information continued on attached page

 18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
 19   LBR, on (date) October 20, 2016, I served the following persons and/or entities by personal delivery,
      overnight mail service, or (for those who consented in writing to such service method), by facsimile
 20   transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
      delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
      filed.
 21
             The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 22
                                                        Service information continued on attached page
 23
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 24   correct.

 25    October 20, 2016           Susan C. Stein                            /s/Susan C. Stein
       Date                     Printed Name                                Signature
 26

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 28
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               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
